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  NS:md

                            UN ITED STA TES DISTR IC T C O U R T
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                        CA SE N O .17-80242-CR -R O SEN BERG /H UN T
                                                                                   aled
  UNITED STATESOF AM ERICA                                              FILED by           D.C.

  VS.                                                                      d2k 22 2218
                                                                          s-rEvcN M LARIMORE
  A LEJA N DR O A N DR AD E CED EN O ,                                    CLERK U.s.DlsT.cT.
                                                                           s o ofFLA - MIAMI

                 Defendant.
                                     /

                       NO TICE O F LIS PE ND EN S RE :FO R FE ITU R E

  GRANTEEIS):YICSM l66,LLC,aFloridaIimitedIiabilitycompany
 TO : A LL PERSON S W H O M A Y CLA IM BY ,THR OU G H ,OR U N DER EITH ER A
      DEFEN D AN T A N D/O R G RAN TEE any interestin the realproperty described herein.

          NOTICE IS HEREBY GIVEN,pursuanttotheprovisionsofFla.Stat.j48.23,asmade
 applicable hereto by 28 U.S.C.j 1964,thaton December 18,2017,the United States filed a
 crim inalInform ation in the U nited States D istrictCourtforthe Southern DistrictofFlolida in the

 foregoingaction.Ptlrsuantto21U.S.C.j8531),theUnitedStatesofAmericaseekstoforfeitthe
 realproperty located at 1840 Capeside Circle,W ellington,Florida 33414,including a11buildings,

 fixtures,appurtenances,im provem ents,attachm ents and easem ents found therein orthereon,and

 which ism ore fully described as:

          Lot97,ofTR ACT 42-8 ofW ELLW GTON P.U .D .according to the platthereof,as
          recorded in PlatBook 54,atPage 58 through 66 inclusive,ofthe Public R ecordsofPalm
          Beach County,Florida.
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        FURTHER NOTICE IS HEREBY GIVEN thatthe provisions of 21 U.S.C.j8534k)
 prohibitany claimantto thedesclibedproperty from (1)intervening in thetrialorappealofthe
  criminalcase,or(2)commencingan action atlaw orequity againsttheUnitedStatesconceming
 the validity ofany alleged interestsubsequentto the lnform ation,exceptfollow ing the entry ofany

 orderoffodkitureasprovidedby21U.S.C.j853(n).
                                             Respectfully subm itted,

                                            A RIAN A FA JA R DO O RSHA N
                                             UN ITED STA TES A TTO RN EY
 This instrum entwas
 prepared by:                         By:    s/Nalina Som buntham
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